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  Fish Commission

                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

 THE UNITED STATES OF                     )
 AMERICA,                                 )
                                          )
                 Plaintiff,               )
                                          )
         v.                               )     Case No. 1:22-cv-00054-SLG
                                          )
 THE STATE OF ALASKA, THE                 )
 ALASKA DEPARTMENT OF FISH & )
 GAME and DOUG VINCENT-LANG, )
 in his official capacity as Commissioner )
 of the Alaska Department of Fish &       )
 Game,                                    )
                                          )
                 Defendants.              )
                                          )

                          COMPLAINT IN INTERVENTION

      The Kuskokwim River Inter-Tribal Fish Commission (the “Commission”) alleges

as follows:

      1.      This is an action in intervention in the above-captioned suit filed by Plaintiff

the United States of America seeking (a) a declaration under the Federal Declaratory
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Judgment Act, 28 U.S.C. § 2201, that actions by Defendants the State of Alaska, its

Department of Fish & Game, and Commissioner Doug Vincent-Lang in contravention of

a rural Alaskan subsistence priority are preempted by federal law and are therefore

unlawful, and (b) injunctive relief enjoining the Defendants from continuing to adopt,

implement or enforce any state action that purports to authorize or encourage harvest of

fish or wildlife that contravenes or interferes with federal law or regulatory actions

instituted by the Federal Subsistence Board (“FSB”) or authorized federal officials.

       2.     This Complaint incorporates the United States of America’s Complaint for

Declaratory and Injunctive Relief, ECF No. 1, in its entirety and adopts the allegations and

claims for relief as its own, as supplemented by the additional allegations herein.

       3.     Plaintiff-Intervenor the Commission is an inter-tribal consortium that

represents the Federally Recognized Indian Tribes1 of the Kuskokwim River watershed

concerning fisheries management matters, including but not limited to the management of




1
  Each of the following Member Tribes of the Commission has issued a duly-adopted
resolution ratifying the Kuskokwim River Inter-Tribal Fish Commission Constitution and
authorizing the Commissioner appointed by that Tribe to vote on behalf of the Tribe:
Nikolai Village, Telida Village, McGrath Native Village, Takotna Village, Native Village
of Georgetown, Village of Stony River, Village of Sleetmute, Village of Crooked Creek,
Native Village of Napaimute, Native Village of Chuathbaluk, Village of Kalskag, Village
of Lower Kalskag, Village of Aniak, Tuluksak Native Community, Akiak Native
Community, Akiachak Native Community, Organized Village of Kwethluk, Orutsararmuit
Native Village (aka Bethel), Native Village of Napaskiak, Native Village of Napakiak,
Village of Atmautluak, Kasigluk Traditional Elders Council, Native Village of Eek,
Village of Chefornak, and Native Village of Kwinhegak (aka Quinhagak). Currently, the
Commissioners for Lime Village, Village of Red Devil, Oscarville Traditional Village,
Native Village of Kongiganak, Native Village of Kwigillingok, and the Native Village of
Kipnuk may participate but do not vote on Commission decisions.

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the Kuskokwim River Chinook and chum salmon populations that are the subject of this

matter.

         4.     The Commission’s thirty-three (33) Tribally appointed Fish Commissioners,

seven (7) Executive Council members, and five (5) In-Season Managers combine

Traditional Knowledge and western science to conservatively manage Kuskokwim

fisheries according to Yup’ik and Athabascan Dené values, subsistence harvest needs, and

escapement targets aimed at rebuilding depleted salmon populations.

         5.     Through the Commission, the Tribes of the Kuskokwim River watershed

seek to conserve, protect, and manage the Chinook and chum salmon resources that form

a core element of the traditional subsistence lifestyle of the people in their communities:

         We, the Tribes of the Kuskokwim River and its tributaries, proclaim that our
         fisheries are essential to our cultural, nutritional, economic and spiritual well-
         being and our way of life. We recognize our responsibility and authority to
         exercise our inter-tribal treaty rights to act as stewards to our common
         traditional territories and resources. Since time immemorial, we have
         properly cared for the fishery resources of the Kuskokwim River Drainage.
         We commit to conserve, restore, and provide for tribal use of fisheries based
         on indigenous knowledge systems and scientific principles. Founded on
         tribal unity, and striving for consensus, we form the Kuskokwim River Inter-
         Tribal Fisheries Commission for the health and well-being of our tribal
         members, our future generations, and all Alaskans who rely upon the health
         of the fisheries.2

         6.     Since 2015, the Commission has co-managed the Kuskokwim salmon fishery

cooperatively with the U.S. Fish and Wildlife Service (“USFWS”) within the Yukon Delta




2
    Kuskokwim Inter-Tribal Fisheries Commission Constitution, Preamble (Attachment A).

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National Wildlife Refuge (“Refuge”) pursuant to a Memorandum of Understanding

between USFWS and the Commission.3

        7.     The decline of the Chinook and chum salmon subsistence resources in the

Kuskokwim River watershed over recent years has been catastrophic, threatening the food,

cultural, and economic security of the Tribes of the region.

        8.     In September 2021, the Commission published its 2021 Kuskokwim River

Salmon Situation Report (“Situation Report”),4 which lays out the timeline of the

subsistence catastrophe that has occurred for the people of the Kuskokwim River

watershed, including but not limited to a drastically below-average Chinook run and a

greater than ninety (90) percent collapse of the chum salmon run, as well as impacts on the

Kuskokwim River communities.

        9.     As the Commission has explained:

        The Chinook and chum salmon run failures have the potential to place
        increased harvest pressure on other limited fish stocks which could threaten
        the sustainability of those species. These failures and associated in-river
        restrictions also limited the subsistence-dependent communities from
        practicing their ways of life and passing on generations-old Traditional
        Knowledge to youth, especially the specialized food processing and
        preparation methods of cultural delicacies that are otherwise at risk of being
        lost. The collapse of both Chinook and chum salmon threatens the food and


3
  See Memorandum of Understanding Between the United States Department of the
Interior, U.S. Fish and Wildlife Service Alaska Region, and Kuskokwim Inter-Tribal Fish
Commission (2016) (Attachment B); see also Kuskokwim River Inter-Tribal Fish Comm’n
& U.S. Fish & Wildlife Serv., Draft 2022 Kuskokwim River Salmon Management and
Harvest Strategy (April 15, 2022) (Attachment C) (the USFWS/Commission practice has
been to keep Management and Harvest Strategy documents in draft form until the fishing
season is complete, given the need to maintain flexibility for in-season management).
4
    Attachment D.

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         economic security and spiritual and cultural vitality of subsistence fishing
         communities on the Kuskokwim River.5

         10.    Federal management, including co-management with the Commission, of the

salmon fishery within the Refuge pursuant to ANILCA Title VIII, including but not limited

to the various emergency special actions issued by the FSB, is critical to the conservation

of the Chinook and chum resources within the Kuskokwim River watershed. Such

management decisions and escapement goals rely on information collected by and shared

between the Commission and USFWS, including information collected by the

Commission’s in-season managers and through the Commission’s Community-Based

Harvest Monitoring Program.6

         11.    During the 2021 fishing season, the State of Alaska Department of Fish &

Game’s (“ADF&G”) unlawful issuance of emergency orders purporting to provide

opportunities for all Alaskans, rather than only federally qualified subsistence users, to fish

within the Refuge in contravention of the closures announced by the FSB were in direct

contravention of ANILCA Title VIII and undermined the federal subsistence priority.

         12.    ADF&G’s actions created havoc for the Tribes of the Kuskokwim River

watershed and confusion for the Tribes’ substance fishers, who received conflicting

information from the State regarding the critical “who, where, when” and “with what gear”

questions of the subsistence fishery.




5
    Situation Report at 7 (emphasis added).
6
 See Kuskokwim Inter-Tribal Kuskokwim River Inter-Tribal Fish Comm’n, 2021 Annual
Report at 11 (Attachment E).

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       13.    This confusion was exacerbated because many of these subsistence fishers

speak English as a second language (if at all), and they may not be deeply familiar with the

complicated federal and state regulatory schemes governing fishing in the region. Instead

of minimizing confusion, ADF&G’s orders told all Alaskans they could fish, and left it up

to individual fishers to realize that following that State’s guidance would constitute a

violation of federal regulations.

       14.    ADF&G’s actions, including but not limited to the issuance of emergency

special actions in the lead-up to the 2022 fishing season that purport to allow fishing by all

users on the Kuskokwim within the Refuge in contravention of the federal closure, continue

to undermine the federal subsistence priority, violate ANILCA, contravene the

Commission’s authority to co-manage the Kuskokwim River salmon fisheries with federal

managers, and sow confusion among the subsistence fishers in the region.

       15.    ADF&G’s actions directly threaten the management authority of the

Commission, as delegated by the Commission’s Member Tribes and recognized by the

United States.

       16.    ADF&G’s actions threaten the health, welfare, economic security, and

continued traditional subsistence-based way of life for the people of the Commission’s

Member Tribes.

                                    PRAYER FOR RELIEF

       WHEREFORE, the Kuskokwim River Inter-Tribal Fish Commission respectfully

requests the following relief:



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       A.     A declaratory judgment stating that Defendants’ emergency orders

purporting to open harvest on the public waters of the Kuskokwim River during the federal

closure in 2021 and 2022, and any similar actions interfering with or in contravention of

federal orders addressing ANILCA Title VIII and applicable regulations, are invalid, null,

and void;

       B.     A preliminary and permanent injunction against the State of Alaska,

including all of its officers, employees, and agents, from reinstating Defendants’ 2021

orders, from proceeding under Defendants’ 2022 orders, or from taking similar actions

interfering with or in contravention of federal orders addressing ANILCA Title VIII and

applicable regulations;

       C.     Any and all other relief necessary to fully effectuate any injunction;

       D.     An award to the Kuskokwim River Inter-Tribal Fish Commission of its fees

and costs in this action; and

       E.     Any other relief that the Court deems just and proper.

       DATED this 31st day of May 2022, at Anchorage, Alaska.

                                          SONOSKY, CHAMBERS, SACHSE
                                           MILLER & MONKMAN, LLP


                                          By:    /s/ Nathaniel Amdur-Clark
                                                 Nathaniel Amdur-Clark
                                                 Alaska Bar No. 1411111
                                                 Whitney A. Leonard
                                                 Alaska Bar No. 1711064




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            Certificate of Service

I certify that on May 31, 2022, a copy of the
foregoing document was served via ECF on all
counsel of record.

/s/ Nathaniel Amdur-Clark
Nathaniel Amdur-Clark




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